185 F.2d 238
    BENEFICIAL CORPORATION, Appellant,v.READING &amp; SOUTHWESTERN STREET RAILWAY COMPANY and City Bankand Trust Company of Reading, Successor TrusteeUnder Deed of Trust, Dated August 25,1921, of Daniel B. Shepp.
    No. 10279.
    United States Court of Appeals, Third Circuit.
    Argued Nov. 17, 1950.Decided Nov. 29, 1950.
    
      Earl G. Harrison, Philadelphia, Pa.  (Wm. A. Schnader, Edward W. Mullinix, and Schnader, Harrison, Segal &amp; Lewis, all of Philadelphia, Pa., on the brief), for appellant.
      Paul H. Rhoads, Harrisburg, Pa.  (Thomas Iaeger Snyder and Snyder, Balmer &amp; Kershner, all of Reading, Pa., Rhoads &amp; Sinon, Harrisburg, Pa., on the brief), for appellees.
      Before MARIS, McLAUGHLIN and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      This appeal presents the question whether stockholders of a lessor street railway company are entitled, under the provisions of a long term lease of all the company's assets and franchises, to have the rent stipulated for in the lease paid by the lessee directly to them as dividends, although the board of directors of the company has by resolution directed the lessee to pay the rent to the company in order to provide funds for the payment of the debts of the company.  The district court held that the company was entitled to receive the rent rather than its shareholders and entered a summary judgment for the defendant.  We find ourselves in complete accord with the reasoning and conclusions of the district court as stated in the opinion filed by Judge Bard, 91 F.Supp. 803, to which we need add nothing.
    
    
      2
      The judgment of the district court will be affirmed.
    
    